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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   Case No. 1:07-cr-213-02
v.
                                                   HONORABLE PAUL L. MALONEY
REGINALD J. BLAND,

                  Defendant.
_______________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Reginald J. Bland has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to

cocaine base (crack cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made

retroactive effective November 1, 2011. U.S.S.G. § 1B1.10(c).

       The defendant, however, is currently serving a term of imprisonment based on his offense

which included distributing an amount of cocaine base in excess of 4,500 grams. At sentencing,

the defendant contested the drug quantity appropriately attributable to him. The Government

called Mr. Tommy Ellis who testified that defendant dealt quantities exceeding 8.4 kilograms.
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The Court found that testimony “totally credible” and ruled for purposes of that hearing that the

defendant’s drug quantity was at least as high as the top threshold of 4.5 kilograms. The

difficulty for the defendant is that the “totally credible” witness established quantities exceeding

the amended threshold of 8.4 kilograms. Accordingly, Amendment 750 is of no assistance to

defendant and he is ineligible for a reduction of sentence. Even if he was eligible, the Court

would not further reduce Mr. Bland’s sentence after consideration of all relevant factors

consistent with the policy statements of the Sentencing Commission. 18 U.S.C. § 3582(c)(2).

Accordingly,

       IT IS HEREBY ORDERED that Defendant Reginald J. Bland’s motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 380) is DENIED.



Date: July 23, 2012                           /s/ Paul L. Maloney
                                              Paul L. Maloney
                                              Chief United States District Judge
